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UNITED STATES DISTRICT COURT FORTHE Pe
NORTHERN DISTRICT OF OKLAHOMA FY L ED

UNITED STATES OF AMERICA, yo SEP 29 2004 « y
Plaintiff, 5 a Salone een
v. Case No. 03-CR-0055-EA /
JUDITH RAY PATTERSON, )
Defendant.
SHOW CAUSEORDER

On September 14, 2004, Jerold W. Barringer filed an “Amended Notice of Appeal” (Dkt. #
191) purportedly on behalf of his client, defendant Judith Ray Patterson As detailed in the attached
Certification of Representation of Counsel (Dkt. # 198), Judith Ray Patterson terminated Mr. |
Barringer as her attorney no later than late August 2004, and directed him to forward all

_ correspondence and records to her present attorney, William P. Widell, Jr. Despite defendant's
termination of her attorney-client relationship with Mr. Barringer, he filed the “Amended Notice of
Appeal” without her knowledge or authorization, and she asks that the “Amended Notice of Appeal”
be stricken, The Court finds that the “Amended Notice of Appeal” should be stricken as having been
filed without authorization.

The Coun has the power to punish contempt, such as misbehavior by attorneys, or to sanction
for misrepreseniations to the Court. Filing pleadings after termination of the attorney-client —
relationship and without the knowledge or authorization of a former client; refusal to file a motion
to withdraw after termination, and misrepresentation of attorney status toa court is misbehavior and

sanctionable conduct which causes the judicial process to have to respond to such improper actions.

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Continuation of such behavior and refusal to move to withdraw may justify entry of a restraining
order.

IT IS THEREFORE ORDERED that the “Ainended Notice of Appeal” (Dkt. #191) ishereby
stricken.

IT IS FURTHER ORDERED that Jerold W. Bartinger show catnse, no later than October 8,
2004, why he should not be held in contempt and/or sanctioned for filing pleadings after termination —
of the attorney-client relationship and without the knowledge or authorization ofa former client, for
relusal to file a motion to withdraw after termination, and for risteptesentation of his attorney status
to this Court. Mr, Barringer shall further show cause why a restraining order should not be entered

against him from further representations that anything he does is on behalf of Judith Ray Patterson.

wd
Dated this 22. “day of September, 2004.

CLAIRE V. EAGAN
UNITED STATES DISTRICT FUDGE

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UNITED STATES DISTRICT COURT FOR THE

NORTHERN DISTRICT OF OKLAHOMA, Sep 21 2004
UNITED STATES OF AMERICA, yo US Disrerei Clerk
‘Plaintiff, - CURT
v. Case No. 03-CR-0055-EA
JUDITH RAY PATTERSON,
Defendant.
CERTIFICATIO NOF REPRESENTA - ION B ¥ COUNSE tC Scene tote
The undersigned, Judith Ray Patterson, hereby certifies:
1, That no later than late Au cust, 2004, 1 terminated J exold W. Barri nger as my attorney

in these criminal proceedings. I directed Mr. Barringer not to contact me further and to forward all

correspondence and records to my present attorney, William P. Widell, J r. Mr. Barringer no longer —

represents me in this or any other legal matter. My correspondence to Mr. Barringer and to Oscar

Stillcy, former counsel for my husband Eddy Lynn Patterson, ts attached hereto.

2. That William P. Widell, Jr. currently represents me in these proceedings and he is the

only attorney authorized to file pleadings on my behalf.

3. That I did not authorize Mr, Barringer to file the “Amended Notice of Appeal” (Dkt,

#191}, filed herein on September 14, 2004,

4, I hereby request that the “Amended Notice of Appeal” (Dkt. #19 1) be stricken, as

having been filed without my authorization.
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3st
Dated this 2 {_ day of September, 2004.

jobrrt
CONSENTED TO:

Wey)

“William P. Widell, Jr.

Counsel for Judith Ray Patterson

403 S. Cheyenne, Penthouse

Tulsa, Oklahoma 74103

Telephone: (918) 605-1809
~Faesimile: (918) 582-5063

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WILLIAM PATRICK WIDELL)
ATTORNEY AT LAW_ nee a

403 8. Cheyenne St, Suite Penthouse, Tulsa Oklahoma 74103 —

“Phone (948) 605-1809
Facsimile . (918) 582-5063
September 17, 2004
Jerold Barrnger
P.O. Box 213
Nakomis, IL 62075
. VIA CERTIFIED MAIL

In re United States: vs. Patterson
03CR. 55 EA |

Dear Mr. Barringer:
I want to make the following clear:
1. I no longer want you to serve as my attormey;

2. I want you to withdraw the 10" circuit appeal i im case ‘number 04-5048 and —
the Amended Notice of Appeal, filed contrary to my wishes, 1 in case number O3CR55EA;

3. | Forward, any documents necessary to demonstrate compliance with my
wishes to Mr. Widell;

3. Other than the above, I do not want you to take any other further action on
my behalf. . :

I have attempted to terminate your services by letters to you and Mr. Stilly
(attached); however, you have continued to file pleadings i in my’ casé.” | have instructed
Mr. Widell to make clear to you that I no longer want you to serve as my attorney. Mr.

. Widell informs me that you will not withdraw until you speak ‘with me-and advise me of

my tights. Please understand, I do nol wish to speak with you and I do not want your
advise.. I simply, want you to comply with the above requests as soon, as po ssible.

If you have any questions regarding my instructions, please contact Mr. Widell.
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Judith Patterson

Ce: Attorney Registration and Discipline
Commission ‘of Supreme Court of Iilinois

-One N. Old Capitol Plaza

Springfield, IL 62701
VERIFICATION foe
STATE OF OKLAHOMA )
) Sst
COUNTY OF TULSA _ you -

], Judith Patierson, of lawful age, being first duly sworn upon oath, States the following: that she i is the

above-named defendant; that she has read the foregoing document, ‘and understands same, and the facts

therein set forth are true and correct. _

Judith Patterson _

Subscribed and sworn to before me this day of __ > 2004.

Notary Public

My commission expires:

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Bets OR 7y03s |

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